EXHIBIT D
                                     AFFIDAVIT OF PROCESS SERVER

                           United States District Court for the Eastern District of Virginia



Mynor Abdiel Tun-Cos, et al                                   Altomey: Daniel E. Johnson

               Plaintiff(s),                                  Covinglon & Burling LLP
VS.
                                                              One City Center. 850 lOth St., NW,#7443
                                                              Washington DC 20001

B. Perrotte, et al

               Defendant(s).
                                                                                 *219693*




Case Number: l:17-cv-00943-AJT-TCB

Legal documents received by Same Day Process Service, Inc. on 09/05/2017 at 3:24 PM to be served upon T.
Osborne,ICE Agent at Office of the Principal Legal Advisor, U.S. Immigration and Customs Enforcement,500
12th St., SW,RM 9046, Washington, DC 20536

I, Andre Howard, swear and affirm that on September 06,2017 at 4:20 PM,I did the following:

Served T. Osborne,ICE Agent by delivering a conformed copy of the Summons in a Civil Action; Civil Cover
Sheet; Complaint to Kate Manuel as Associate Legal Advisor & Authorized Agent of T. Osborne,ICE Agent at
Office of the Principal Legal Advisor, U.S. Immigration and Customs Enforcement,500 12th St., SW,RM 9046,
Washington, DC 20536.

Description of Person Accepting Service:
Sex: Female Age: 40 Height: 5'10 Weight: 150 Skin Color: Caucasian Hair Color: Brunette

Supplemental Data Appropriate to this Service:



I declare under penalty of perjury that the foregoing information contained in this affidavit is true and correct and that I
am a professional process ser^'over thcag^e^of 18 and have no interest in the above legal matter.

                                                                           District of Columbia; 33
                                                                           Subscribed and Sworn to before me

Andre Howard
                                                                           this [)^ day o\
Process Server
                                                                                                  j^tary Public. D.G.
Same Day Process Service, Inc.                                              My commk       "expirfes February 14, 2021
1413 K St., NW,7th Floor
Washington DC 20005

(202)-398-4200

Internal Job ID: 219693
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                                     AFFTDAVTT OF PROCESS SERVER

                           United States District Court for the Eastern District of Virginia



Mynor Abdicl Tun-Cos, et al                                   Attorney: Daniel E. Johnson

               Plaintiff(s),                                  Covington & Burling LLP
                                                              One City Center, 850 10th St., NW,#744$
VS.
                                                              Washington DC 20001

B. Perrotte, et al

               Defendant(s).
                                                                                 #219692*




Case Number: l:17-cv.00943-AJT-TCB

Legal documents received by Same Day Process Service. Inc. on (19/05/2017 al 3:23 PM to be served upon P.
Manneh,ICE Agent at Office of the Principal Legal Advisor, U.S. Inimigratlon and Customs Enforcement,500
12th St., SW,RM 9046, Washington,DC 20536

I, Andre Howard, swear and affirm that on September 06,2017 at 4:20 PM,I did the following:

Served P. Manneh,ICE Agent by delivering a conformed copy of the Summons in a Civil Action; Civil Cover
Sheet; Complaint to Kate Manuel as Associate Legal Advisor & Authorized Agent of P. Manneh,ICE Agent at
Office of the Principal Legal Advisor, U.S. Immigration and Customs Enforcement,500 12th St., SW,RM 9046 ,
Washington, DC 20536.

Description of Person Accepting Service:
Sex; Female Age: 40 Height: 5'10 Weight: 150 Skin Color: Caucasian Hair Color: Brunette

Supplemental Data Appropriate to this Service:




1 declare under penalty of perjury that iHe foregoing information contained in this affidavit is true and correct and that 1
am a professional process server over/die age of 18 and have no interest in the above legal matter.

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                                                                                  District oi CoiL'mOia: SS
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Andre Howard
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Process Server
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Same Day Process Service, Inc.                                                    My comr[11ssicn..<?^pi'r€s February 14, 2021
1413 K St., NW,7th Flobr
Washington DC 20005

(202)-398-42()0

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                                     AFFTDAVTT OF PROCESS SERVER

                           United States District Court for the Eastern District of Virginia



Mynor Abdiel Tun-Cos, et al                                   Attorney: Daniel E. Johnson

               Plaintiff(s),                                  Covington & Burling LLP
                                                              One City Center, 850 10th St.. NW,#7443
vs.
                                                              Washington DC 20001

B. Perrotte, et al

                 Detendant(s).
                                                                                  *219691*




Case Number: l:17-cv-00943-AJT-TCB

Legal documents received by Same Day Process Service, Inc. on 09/05/2017 al 3:23 PM to be served upon D. Hun
Yini, ICE Agent at Office of the Principal Legal Advisor, U.S. Immigration and Customs Enforcement,500 12th
St.,SW,RM 9046, Washington, DC 20536

I, Andre Howard, swear and affirm that on September 06,2017 at 4:20 PM,I did the following:

Served D. Hun Yim,ICE Agent by delivering a conformed copy of the Summons in a Civil Action; Civil Cover
Sheet; Complaint to Kate Manuel as Associate Legal Advisor & Authorized Agent of D. Hun Yim,ICE Agent at
Office of the Principal Legal Advisor, U.S. Immigration and Customs Enforcement,500 12th St., SW,RM 9046 ,
Washington, DC 20536.

Description of Person Accepting Service:
Sex: Female Age: 40 Height: 5'10 Weight: 150 Skin Color: Caucasian Hair Color: Brunette

Supplemental Data Appru|)riate to this Service:




I declare under penalty of perjury that the foregoing information contained in this affidavit is true and correct and that I
am a professional process so-ver ovepthe age of 18 and have no interest in the above legal matter.




                                                                         District of Columbia: 3S
Andre Howard
                                                                        Subscribed and Sworn to beto^:
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Process Server                                                           this                                        -2^^
Same Day Process Service, Inc
1413 K St., NW,7th Floor                                                        Tvieryv&ijt^r. Notary Public, D.C.
Washington DC 20005                                                      My comw&STexpires February 14. 2021
(202)-398-4200
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Internal Job ID: 219691

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                                     AFFIDAVIT OF PROCESS SERVER

                           United States District Court lor the Eastern District of Virginia



Mynor Abdiel Tun-Cos, et al                                   Attorney: Daniel E. Johnson
               Plaintiff(s),                                  Covinglon & Burling LLP
VS.
                                                              One City Center, 850 lOlh St., NW,#7448
                                                              Washington DC 20001

B. Perrotte, et al
                                                                                       II
               Defendant(s).
                                                                                  *219690*




Case Number: l:17.cv-00943-AJT-TCB

Legal documents received by Same Day Process Service, Inc. on 09/05/2017 al 3:22 PM to be served upon B.
Perrotte, ICE Agent at Office of the Principal Legal Advisor, U.S. Immigration and Customs Enforcement,500
12th St., SW,RM 9046, Washington,DC 20536

I, Andre Howard,.swear and affirm that on September 06,2017 at 4:20 PM,I did the following:

Served B. Perrotte,ICE Agent by delivering a conformed copy of the Summons in a Civil Action; Civil Cover
Sheet; Complaint to Kate Manuel as Associate Legal Advisor & Authorized Agent of B. Perrotte,ICE Agent at
Office of the Principal Legal Advisor, U.S. Immigration and Customs Enforcement,500 12th St., SW,RM 9046,
Washington, DC 20536.

Description of Person Accepting Service:
Sex: Female Age: 40 Height: 5'10 Weight: 150 Skin Color: Caucasian Hair Color: Brunette

Supplemental Data Appropriate to this Service:




I declare under penalty of perjury that the foregoing information contained in this affidavit is true and correct and that I
am a professional process server over the age of 18 and have no interest in the above legal matter.




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Andre Howard
Process Server                                                                 13 (2^ da/--[
Same Day Process Service, Inc.
1413 K St., NW,7th Floor                                                               T^r              f-^ubiic, D.C.
Washington DC 20005                                                          My commia^ionexpires February 14, 2021
(202)-398-4200

Internal Job ID: 219690
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                                     AFFIDAVIT OF PROCESS SERVER

                           United States District Court for the Eastern District of Virginia



Mynor Abdiei Tun-Cos, et al                                   Attorney: Daniel E. Johnson

               Plaintiff(s),                                  Covington & Burling LLP
                                                              One City Center, 850 10th St., NW,#744S
VS.
                                                              Washington DC 20001

B. Perrotte, et al

               Defendanl(s).
                                                                                 *219689»
                                                                                                             III
Case Number: l:17-cv-00943-AJT-TCB

Legal doeuments received by Same Day Process Service, Inc. on 09/05/2017 at 3:22 PM to be served upon A. Nichols,
ICE Agent at Office of the Principal I.egal Advisor, U.S. Immigration and Customs Enforcement,500 12th St.,
SW,RM 9046, Washington, DC 20536

I. Andre Howard, swear and affirm that on September 06, 2017 at 4:20 PM.I did the following:

Served A. Nichols,ICE Agent by delivering a conformed copy of the Summons in a Civil Action; Civil Cover
Sheet; Complaint to Kate Manuel as Associate Legal Advisor & Authorized Agent of A. Nichols,ICE Agent at
Office of the Principal Legal Advisor, U.S. Immigration and Customs Enforcement, 500 12th St., SW,RM 9046,
Wasiiington, DC 20536.

Description of Person Accepting Service:
Sex: Female Age: 40 Height: 5'10 Weight: 150 Skin Color: Caucasian Hair Color: Brunette

Supplemental Data Appropriate to this Service:




I declare under penalty of perjury tha the foregpiftg information contained in this affidavit is true and correct and that I
am a professional process server ove 'the age"of ISyand   have no interest in the above legal matter.

                                                                              District of Columbia: SS
                                                                              Subscribed and Sworn to befor^yme
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Andre Howard
Process Server                                                                            er Wa;             PUblic, D.C.
                                                                                y cornm;            ■^ires February 14, 2021
Same Day Process Service, Inc
1413 K St., NW,7th Floor
Washington DC 20005

(202)-398-4200

Internal Job ID: 219689                                                              '             S.V   o
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